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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

SHEILA SUMPTER                 )
                               )
                               )                   CIVIL ACTION FILE NO.
             Plaintiff,        )
                               )
v.                             )
                               )                   JURY TRIAL DEMANDED
GRADY MEMORIAL HOSPITAL        )
CORPORATION D/B/A GRADY HEALTH )
SYSTEM; and                    )
RAPHAEL GERSHON                )
                               )
             Defendants.       )
                               )

                                  COMPLAINT

      Plaintiff Sheila Sumpter (“Ms. Sumpter” or “Plaintiff”) respectfully submits

this Complaint for Damages and Equitable Relief:

                               INTRODUCTION

      1.    Ms. Sumpter is an African American female who was formerly

employed by Grady Memorial Hospital Corporation d/b/a Grady Health System for

fifteen years as a Certified Registered Nurse Anesthetist (CRNA). Despite

satisfactory performance in her role, Ms. Sumpter suffered disparate treatment,
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retaliation, a hostile work environment and termination, based on her race and

gender.

      2.     Plaintiff files this Complaint for declaratory, injunctive, and monetary

relief against Defendant Grady Memorial Hospital Corporation d/b/a Grady Health

System for race discrimination and retaliation in violation of 42 U.S.C. § 1981 and

Title VII of the Civil Rights Act of 1964 (“Title VII) and sex discrimination and

retaliation in violation of Title VII and against Defendant Raphael Gershon for race

discrimination and retaliation in violation of 42 U.S.C. § 1981.

                              JURISDICTION AND VENUE

      3.     Plaintiff brings this action pursuant to 42 U.S.C. § 1981, as well as Title

VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e. Jurisdiction is invoked

pursuant to 28 U.S.C. § 1331 (federal question) and 28 U.S.C. § 1343 (civil rights).

      4.     The unlawful violations of Plaintiff’s civil rights were committed

within the Northern District of Georgia. Venue is proper in this Court under 28

U.S.C. § 1391(b) and 42 U.S.C. § 2000e-5(f)(3), as a substantial part of the events

or omissions giving rise to the claim occurred in this judicial district.

                       ADMINISTRATIVE EXHAUSTION




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      5.     Ms. Sumpter has satisfied all administrative prerequisites to perfect her

claims of discrimination and retaliation under Title VII. Specifically, she has timely

filed a Charge of Discrimination with the Equal Employment Opportunity

Commission (“EEOC”) alleging race and sex discrimination and retaliation and

timely filed this lawsuit following receipt of a Notice of Right to Sue Letter for her

claims under Title VII of the Civil Rights Act of 1964.

                                      PARTIES

      6.     Ms. Sumpter is now and was at all times relevant to this action, a citizen

of the United States entitled to bring actions of this type and nature. Plaintiff is now

and was at all times relevant to this action a resident of the state of Georgia.

      7.     Defendant Grady Memorial Hospital Corporation d/b/a Grady Health

System (“Grady”) is a Georgia non-profit corporation. Its principal office address is

located at 80 Jesse Hill Jr. Drive, SE, P.O. Box 26145, Atlanta, GA, 30303. Its

registered agent for service of process is Timothy Jefferson. Process can be served

at 80 Jesse Hill Jr. Drive SE, Atlanta, GA, 30303.

      8.     Defendant Raphael Gershon (“Gershon”) is a white male and at all

relevant times served as the Director of Anesthesia at Grady. Gershon is subject to

the jurisdiction of this Court and may be served with process by personal service or


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leaving copies of the summons and complaint at his dwelling house or usual place

of abode with some person of suitable age and discretion residing there, or by

delivering a copy of the summons and complaint to an agent authorized to receive

service of process.

                            STATEMENT OF FACTS

      9.     Ms. Sumpter is an African American female.

      10.    From 2003 to June 2020, Ms. Sumpter worked for Grady as a Certified

Registered Nurse Anesthetist (CRNA).

      11.    Unlike Anesthesia Assistants (“AA”), CRNAs are licensed and are able

to practice independent of an Anesthesiologist.

      12.    At all relevant times all anesthetists (which includes AAs and CRNAs)

and anesthesiologists at Grady were functionally under Gershon’s supervision.

      13.    As alleged further herein, Ms. Sumpter was dependent on Gershon’s

“sign off” of on her recredentialing for her to continue working at Grady.

      14.    Historically, Gershon had been the one to personally decide who serves

as the Chief Anesthetist.

      15.    Gershon had previously selected predecessors in this position and, was

pushing for the current interim chief (white) to be the next chief.


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      16.    In October or November 2018, CRNAs Ms. Sumpter, Erica Moore

(African American female) and John Ohanu (African American male) wrote to Deb

Hamrick, Director of Perioperative Services and Dr. Rhonda Scott, former CEO, that

the CRNAs (all but two of whom were African American) were not being fairly

represented in the department and were constantly passed over for managerial or

team leading roles.

      17.    Ms. Sumpter recommended Erica Moore to be considered for the

position of Chief Anesthetist.

      18.    Ms. Moore was a few months from completing DNP (Doctorate of

Nursing Practice), which made her the highest qualified anesthetist candidate at

Grady.

      19.    Ms. Sumpter wrote to Gershon and Dr. Aora, Gershon’s assistant,

recommending Ms. Moore for the chief position. Neither Gershon nor Aora

responded to her in any substantive manner.

      20.    On or about November 1, 2018, Grady announced that George

Williams (African American) would be the new Chief Anesthetist.




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      21.    For the first time in a considerable period, Gershon did not play a role

in the hiring or promotion process which on information and belief was due at least

in part to the letters Plaintiff and others wrote.

      22.    Brittany Nye (then-interim chief) sent an email to entire department

encouraging them to reach out to the administration and express their desire for a

person on the inside to be hired and not an “outsider.”

      23.    Ms. Sumpter responded to Nye’s email, stating that Ms. Sumpter had

been an employee for fifteen years and to support Mr. Williams and give him the

opportunity to come and do his job. As part of her email, Ms. Sumpter stated that

“[p]eople have been given positions in our department without any explanation or

without others that may be just as capable and qualified to apply . . .”

      24.    Ms. Sumpter’s statement regarding past hiring practices overlooking

qualified candidates was in opposition to Gershon’s previous hand-picking of white

candidates over other qualified candidates such as Ms. Moore, on whose behalf Ms.

Sumpter had previously written to Gershon.

      25.    Further, Ms. Sumpter was writing in response to concerns expressed

within the department about an “outsider” (Mr. Williams, African American) taking

over the position.


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       26.   From that time on Ms. Sumpter experienced retaliation and was

subjected to a hostile and discriminatory work environment based on her race and

sex.

       27.   Gershon began to stop speaking to Ms. Sumpter and to avoid looking

at her or acknowledging her when they passed one another. He eventually stopped

looking at or speaking to her.

       28.   At one point, Ms. Sumpter approached Gershon to discuss a work issue

but Gershon never gave her the opportunity to do so. Ms. Sumpter was forced to

escalate the underlying issue and provide a written account to Mr. Williams.

       29.   Ms. Sumpter also informed Mr. Williams that Gershon had refused to

discuss the matter with her. After that, other white anesthesiologists began to make

rude and condescending comments to Ms. Sumpter and became unfairly and

unfoundedly critical of her judgment and decision making skills in a way they had

not been before.

       30.   Further, Grady began assigning Ms. Sumpter’s work assignments in a

manner different from her colleagues.

       31.   For example, when Ms. Sumpter worked the day shift, Grady never or

at most very rarely assigned Ms. Sumpter to areas such as the Neuro unit, preop or


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third call, which would have enabled her to become more familiar with the

computerized preop process for surgery patients.

      32.    Ms. Sumpter specifically raised this issue in her performance review

and requested additional work in these areas to further familiarize herself with the

process and advance her skills.

      33.    Gershon did not, however, permit her this opportunity, even though it

would have benefitted Ms. Sumpter in performing her patient duties.

      34.    Ms. Sumpter’s white colleague, however, received assignments in all

three of these areas.

      35.    Gershon - who made out the daily assignments - retaliatorily changed

Ms. Sumpter’s work assignments in a manner adverse to Ms. Sumpter and different

from her white colleagues.

      36.    In the next roughly six-week period, Ms. Sumpter was required to cover

the GI center over 50% of the time she worked the day shift which was a less

favorable and beneficial assignment.

      37.    Covering the GI center is less favorable and beneficial when a person

is assigned there almost consistently because most patients are Monitored




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Anesthesia Care cases, in which the patient is typically minimally sedated, which

limits the employee’s opportunity to perform and advance their anesthesia skills.

      38.    During that six-week period, Ms. Sumpter’s white colleague (who

worked the same hours per week as Ms. Sumpter) was assigned to the GI center only

three times and received assignments to work in the areas in which Ms. Sumpter had

previously requested she receive additional work and experience.

      39.    Despite Ms. Sumpter making a request to be placed in those areas to

continue to bolster her professional development, work skills, and work

opportunities, Gershon never assigned her to those areas.

      40.    She instead was sent to Neuro only in emergency situations.

      41.    Every two years, CRNAs are required to re-submit paperwork to keep

their privileges to practice at Grady current.

      42.    It is standard for Gershon, the Director of Anesthesia, to sign off on the

paperwork.

      43.    Ms. Sumpter discovered on Sept 6, 2019 that Gershon, continuing his

discriminatory and retaliatory conduct, had refused to sign off on her paperwork

stating only that he had, apparently unspecified, “issues” with her.




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       44.   One of the other anesthesiologists, who was African American, offered

to sign off on Ms. Sumpter’s paperwork but was told it had to be Gershon who did

so.

       45.   Two weeks later, Gershon had still refused to sign.

       46.   Without Gershon’s signature for her re-credentialing, Ms. Sumpter

would not be permitted to continue to practice at Grady and his refusal would also

be highly detrimental to her career prospects elsewhere. Her livelihood was at stake.

       47.   Nothing in Ms. Sumpter’s job performance or performance reviews

justified Gershon’s continued refusal to sign.

       48.   Ms. Sumpter complained to George Williams, Chief CRNA, who

informed her that he had met with Human Resources.

       49.   According to Mr. Williams and Human Resources, this had never

happened before and Gershon had never refused to sign anyone else's paperwork.

       50.   Ms. Sumpter also met with Deb Hamrick, the Director of Perioperative

services, and informed her in this conversation that she planned to go the EEOC

about Gershon’s conduct.

       51.   Ms. Hamrick stated that Gershon’s conduct was “retaliation” and was

wrong and was “harassment.”


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        52.   Ms. Hamrick encouraged Ms. Sumpter to call Grady’s Compliance

Hotline (and told her she should specifically mention the “hostile environment”).

        53.   One of Ms. Sumpter’s African American co-workers who also wrote

letters to support change in the work environment was terminated shortly after for

an alleged reason that, based on Ms. Sumpter’s understanding and experience, would

not have resulted in a white employee being terminated. Ms. Hamrick stated that

what Gershon was doing to retaliate against Ms. Sumpter was “exactly what he did”

to this other individual.

        54.   Ms. Hamrick also suggested Ms. Sumpter speak with another Grady

employee who Ms. Sumpter understood was experiencing issues with Dr. Gershon,

and who had retained a “labor attorney.”

        55.   Ms. Hamrick also identified other individuals who were experiencing

difficulties with Gershon’s treatment and stated that “it seems to be with females.”

        56.   Ms. Sumpter subsequently contacted the Compliance Hotline and

complained about Gershon’s and certain other white physicians’ mistreatment of

her.

        57.   On or about September 26, 2019, Grady informed Ms. Sumpter that HR

and others in administration were now involved and that Gershon was required to


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sign Ms. Sumpter’s paperwork, but Ms. Sumpter was informed he had signed with

a “with reservations” notation.

      58.     Ms. Sumpter requested an official copy for her records, but Grady HR

did not respond.

      59.     Ms. Sumpter then learned that just two days after she complained to the

Compliance hotline about Gershon’s and others’ behavior, Gershon had five non-

African American colleagues write disparaging letters about Ms. Sumpter’s job

performance (despite her yearly evaluations and true job performance reflecting

otherwise).

      60.     Ms. Sumpter later learned that Gershon had asked all the

Anesthesiologists to write such letters but only five agreed to do so.

      61.     On information and belief, all six African American Anesthesiologists

and five other non-African American Anesthesiologists refused to write disparaging

letters or support Gershon’s discriminatory and retaliatory campaign against Ms.

Sumpter.

      62.     The five letters were apparently all within 30 minutes of each other on

the same day and allege performance issues with respect to Ms. Sumpter which she




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disputes, and which had not been brought to her attention before, either in

performance reviews or otherwise.

      63.    The letters, written at Gershon’s behest, were in furtherance of the

campaign of discrimination and retaliation against Ms. Sumpter

      64.    The letters contain numerous false statements concerning Ms. Sumpter

and her job performance and caused her significant emotional distress because they

threatened her reputation and livelihood.

      65.    Dr. Matthew Hunter alleged, in part, in his letter that Ms. Sumpter was

responsible for a “near miss” with a patient, meaning that the patient almost died.

      66.    No such allegation had ever been presented to Ms. Sumpter before.

      67.    These allegations and numerous others in Hunter’s letter and the other

letters are not true and were simply part of and in furtherance of the retaliatory and

discriminatory campaign against Ms. Sumpter.

      68.    Grady has a reporting system for all near misses. If the incident were as

Hunter alleged, he should have immediately reported it and documented it.

      69.     Instead, Hunter waited 8 months – and only after Ms. Sumpter had

complained of discriminatory treatment and Gershon had recruited him to write a

false negative appraisal of Ms. Sumpter - to raise this allegation.


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      70.   Hunter never said anything about this alleged incident to Ms. Sumpter,

who had worked with him on numerous occasions since the alleged incident.

      71.   Hunter has never removed Ms. Sumpter from a case and has left trauma

cases with Ms. Sumpter as soon as the patient was stabilized to return to his call

room to sleep.

      72.   Defendants’ ongoing discrimination and retaliation against Ms.

Sumpter, which now included unfounded allegations of serious performance issues

and interference with her recredentialing, threatened her livelihood and forced her

to have to take medical leave and expend accrued time off to escape the ongoing

hostile work environment and the serious and detrimental toll it was taking on her.

      73.   Ms. Sumpter engaged in further protected activity by filing her EEOC

charge of discrimination in October 2019, while she was on the forced leave.

      74.   Ms. Sumpter attempted to return to Grady in June 2020, having

exhausted her paid and unpaid leave options.

      75.   Upon her return, Ms. Sumpter continued to experience exclusion,

interference with her schedule, further retaliation and an ongoing hostile work

environment that made the workplace intolerable.




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      76.    Although Ms. Sumpter had discussed her desire to work two 12 hour

shifts on Thursdays and Friday with Mr. Williams and HR, it was granted for July

only, even though on information and belief Grady spends substantially more money

(almost double) on locum anesthetists to fill those same shifts.

      77.     Instead, Ms. Sumpter was assigned to work the day shift which would

put her in greater contact with Gershon and others who unfairly criticized her in the

discriminatory and retaliatory letters.

      78.    Gershon continued his retaliatory behavior by placing Mrs. Sumpter in

the cataract room – which required minimal sedation and thus provided little

opportunity for Ms. Sumpter’s professional development - on 3 of the next 4 days

that she worked, while her colleagues were rotated throughout the OR.

      79.    Gershon along with several doctors and colleagues further continued to

not speak to Ms. Sumpter upon her return, resulting in continued retaliation,

ostracization, and exclusion.

      80.    Ms. Sumpter then learned that following a procedure in which she had

assisted an Anesthesiologist, Gershon summoned this physician into his office and

grilled the physician about Ms. Sumpter’s performance.




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      81.    Ms. Sumpter was informed that Gershon appeared to be looking for

something to blame her for and that when he was unsuccessful, he appeared defeated

or frustrated.

      82.    This incident confirmed to Ms. Sumpter what she already feared to be

the case based on what she had already experienced – that she could not work in an

environment where Gershon and likely others would be on a constant “witch hunt”

to find anything they could try to use against her, either to justify their own

discriminatory and retaliatory actions or to take further retaliatory action against her.

      83.    In July 2020, Ms. Sumpter was forced to submit her resignation.

      84.    Ms. Sumpter stated in part in her resignation letter that the work

situation and scheduling being required of her, including placing her back into direct

contact with those who had already discriminated and retaliated against her and were

continuing to do so, led her to “believe I have no choice but to resign as continuing

in the workplace creates an intolerable environment.”

      85.    Grady constructively discharged Ms. Sumpter.

                                     COUNT I
                 Race Discrimination in violation of 42 U.S.C. § 1981
                              (Against All Defendants)

      86.    All preceding paragraphs are incorporated herein by reference.


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      87.    At all times material to this Complaint, Plaintiff and Defendant Grady

were parties to an employment agreement under which Plaintiff worked for Grady

and Grady compensated her for her work.

      88.    Defendant Gershon exercised supervisory authority or de facto

supervisory authority over Plaintiff by virtue of his position, control of scheduling,

control over staffing, and ability to determine Plaintiff’s recredentialing.

      89.    Plaintiff is African American.

      90.    Plaintiff performed her obligations under her employment agreement.

      91.    42 U.S.C. § 1981 prohibits Defendants from discriminating against

Plaintiff on the basis of race with regard to the making and enforcing of her

employment agreement with Defendant Grady.

      92.    The above-pleaded discriminatory conduct toward Plaintiff, including,

but not limited to, demeaning and exclusionary treatment, discrimination in her

scheduling and assignments, unjustified interference with her professional

credentialing and livelihood, unjustified criticism, excessive scrutiny, and her

discriminatory constructive termination based on race constitutes unlawful race

discrimination against Plaintiff in the terms and conditions of her employment in

violation of 42 U.S.C. § 1981.


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      93.     Defendants violated Plaintiff’s rights under 42 U.S.C. § 1981 by

subjecting her to disparate treatment and constructively terminating her employment

because of her race.

      94.     Defendants undertook their conduct intentionally and maliciously with

respect to Plaintiff and her federally protected rights, or additionally, and in the

alternative, undertook their conduct recklessly with respect to Plaintiff and her

federally protected rights, entitling Plaintiff to recover punitive damages against

Defendants.

      95.     Defendants’ actions constitute unlawful intentional race discrimination

in violation of 42 U.S.C. § 1981.

      96.     Defendants willfully and wantonly disregarded Plaintiff’s federally

protected rights and Defendants’ discrimination against Plaintiff was undertaken in

bad faith.

      97.     As a direct and proximate result of Defendants’ violations of 42 U.S.C.

§ 1981, Plaintiff has suffered damages including lost compensation and other

benefits of employment, emotional distress, inconvenience, loss of income,

humiliation, and other indignities.




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      98.    Accordingly, Plaintiff is entitled to the equitable and monetary relief

set forth in the following prayer for relief for Defendants’ violation of her rights

under 42 U.S.C. § 1981.



                                COUNT II
  Retaliation and Retaliatory Hostile Work Environment in Violation of 42
                               U.S.C. § 1981
                          (Against All Defendants)

      99.    Paragraphs 1 through 85 are incorporated herein by reference.

      100. At all times material to this Complaint, Plaintiff and Defendant Grady

were parties to an employment agreement under which Plaintiff worked for Grady

and Grady compensated her for her work.

      101. Defendant Gershon exercised supervisory authority or de facto

supervisory authority over Plaintiff by virtue of his position, influence over

scheduling, control over staffing, and ability to determine Plaintiff’s recredentialing.

      102. Plaintiff is African American.

      103. Plaintiff performed her obligations under her employment agreement.

      104. Plaintiff engaged in statutorily protected activity by objecting to,

reporting, and complaining of race discrimination prohibited by 42 U.S.C. § 1981

and Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e et seq.

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including but not limited to making internal complaints and the filing of a charge of

discrimination with the EEOC.

      105. 42 U.S.C. § 1981 prohibits the Defendants from retaliating against

Plaintiff because she opposed, objected to, and complained against race

discrimination prohibited by 42 U.S.C. § 1981 and Title VII of the Civil Rights Act

of 1964, as amended, 42 U.S.C. § 2000e et seq.

      106. Defendants subjected Plaintiff to retaliation for her protected conduct,

including, but not limited to, demeaning and exclusionary treatment, disparate

treatment in her scheduling and assignments, unjustified interference with her

professional credentialing and livelihood, unjustified criticism, excessive scrutiny,

and her constructive termination in violation of 42 U.S.C. § 1981.

      107. Defendants undertook their conduct intentionally and maliciously with

respect to Plaintiff and her federally protected rights, or additionally, and in the

alternative, undertook their conduct recklessly with respect to Plaintiff and her

federally protected rights, entitling Plaintiff to recover punitive damages against

Defendants.

      108. Defendants’ actions constitute unlawful intentional retaliation in

violation of 42 U.S.C. § 1981.


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          109. Defendants willfully and wantonly disregarded Plaintiff’s federally

protected rights and Defendants’ retaliation against Plaintiff was undertaken in bad

faith.

          110. As a direct and proximate result of Defendants’ violations of 42 U.S.C.

§ 1981, Plaintiff has suffered damages including lost compensation and other

benefits of employment, emotional distress, inconvenience, loss of income,

humiliation, and other indignities.

          111. Accordingly, Plaintiff is entitled to the equitable and monetary relief

set forth in the following prayer for relief for Defendants’ violation of her rights

under 42 U.S.C. § 1981.



                                  COUNT III
                     Race Discrimination in violation of Title VII
                             (Against Defendant Grady)

          112. Paragraphs 1 through 85 are incorporated herein by reference.

          113. Plaintiff is in a protected class based on her race (African American)

          114. Plaintiff is an “employee” as defined by Title VII, 42 U.S.C. § 2000e

et seq.

          115. Plaintiff was qualified for the position to which she was hired.


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      116. Defendant Grady is an “employer” as defined by Title VII, 42 U.S.C. §

2000e et seq.

      117. Defendant Grady discriminated against Plaintiff in the terms and

conditions of her employment when, among other things, its leaders treated her

differently and less favorably because of her race and terminated her employment.

      118. Defendant Grady undertook this unlawful conduct intentionally and

maliciously with respect to Plaintiff and her federally protected rights, entitling her

to recover punitive damages against Defendant Grady.

      119. Additionally, or in the alternative, Defendant Grady undertook its

unlawful conduct recklessly with respect to Plaintiff and her federally protected

rights, entitling her to recover punitive damages.

      120. As a direct and proximate result of the Defendant Grady’s actions,

Plaintiff suffered damages including stress, inconvenience, loss of income and

benefits, humiliation, and other indignities.

      121. Plaintiff is entitled to an award of back pay and benefits, compensatory

damages, attorney’s fees, punitive damages, and all other appropriate damages,

remedies, and other relief available under Title VII and all federal statutes providing

remedies for violations of Title VII.


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                                     COUNT III
                      Sex Discrimination in Violation of Title VII
                              (Against Defendant Grady)


          122. Paragraphs 1 through 85 are incorporated herein by reference.

          123. Plaintiff is in a protected class based on her sex (female).

          124. Plaintiff is an “employee” as defined by Title VII, 42 U.S.C. § 2000e

et seq.

          125. Plaintiff was qualified for the position to which she was hired.

          126. Defendant Grady is an “employer” as defined by Title VII, 42 U.S.C. §

2000e et seq.

          127. Defendant Grady discriminated against Plaintiff in the terms and

conditions of her employment when, among other things, it treated her differently

and less favorably because she was a female as compared to her male peers.

          128. Defendant Grady undertook this unlawful conduct intentionally and

maliciously with respect to Plaintiff and her federally protected rights, entitling her

to recover punitive damages against Defendant.

          129. Additionally, or in the alternative, Defendant Grady undertook its

unlawful conduct recklessly with respect to Plaintiff and her federally protected

rights, entitling her to recover punitive damages.

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      130. As a direct and proximate result of the Defendant Grady’s actions,

Plaintiff suffered damages including stress, inconvenience, loss of income and

benefits, humiliation, and other indignities.

      131. Plaintiff is entitled to an award of back pay and benefits, compensatory

damages, attorney’s fees, punitive damages, and all other appropriate damages,

remedies, and other relief available under Title VII and all federal statutes providing

remedies for violations of Title VII.

                                         COUNT IV
                             Retaliation in Violation of Title VII
                                 (Against Defendant Grady)

      132. Paragraphs 1 through 85 are incorporated herein by reference.

      133. Plaintiff engaged in statutorily protected activity by objecting to,

reporting, and complaining of race discrimination prohibited by 42 U.S.C. § 1981

and race and sex discrimination prohibited by Title VII of the Civil Rights Act of

1964, as amended, 42 U.S.C. § 2000e et seq. including but not limited to making

internal complaints and the filing of a charge of discrimination with the EEOC.

      134. Defendant Grady subjected Plaintiff to retaliation for her protected

conduct, including, but not limited to, demeaning and exclusionary treatment,

disparate treatment in her scheduling and assignments, unjustified interference with


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her recredentialing and livelihood, unjustified criticism, excessive scrutiny, and her

constructive termination in violation of Title VII.

      135. Defendant Grady undertook this unlawful conduct intentionally and

maliciously with respect to Plaintiff and her federally protected rights, entitling her

to recover punitive damages against Defendant Grady.

      136. Additionally, or in the alternative, Defendant Grady undertook its

unlawful conduct recklessly with respect to Plaintiff and her federally protected

rights, entitling her to recover punitive damages.

      137. As a direct and proximate result of the Defendant Grady’s actions,

Plaintiff suffered damages including stress, inconvenience, loss of income and

benefits, humiliation, and other indignities.

      138. Plaintiff is entitled to an award of back pay and benefits, compensatory

damages, attorney’s fees, punitive damages, and all other appropriate damages,

remedies, and other relief available under Title VII and all federal statutes providing

remedies for violations of Title VII.

                                    PRAYER FOR RELIEF

      WHEREFORE, Plaintiff demands a TRIAL BY JURY and requests the

following relief:


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    a. a declaratory judgment that Defendant Grady violated Title VII of the

       Civil Rights Act of 1964, as amended 42 U.S.C. § 2000e et seq.

    b. a declaratory judgment that Defendants Grady and Gershon violated 42

       U.S.C. § 1981;

    c. a permanent injunction, prohibiting Defendants from engaging in

       unlawful employment practices in violation of Title VII or 42 U.S.C. §

       1981;

    d. full back pay from the date of Plaintiff’s unlawful termination, taking into

       account all raises to which she would have been entitled but for the

       unlawful termination, and all fringe and pension benefits of employment,

       with prejudgment interest thereon;

    e. reinstatement to Plaintiff’s former position with Defendant Grady at the

       same pay grade, or in the alternative, front pay to compensate Plaintiff

       for lost future wages and benefits;

    f. compensatory damages in an amount to be determined by the enlightened

       conscience of the jury, for Plaintiff’s emotional distress, suffering,

       inconvenience, mental anguish, loss of enjoyment of life and special

       damages;


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        g. punitive damages against Defendants;

        h. attorneys’ fees and costs; and

        i. all other and further relief as this Court deems just and proper.

     Respectfully submitted this 19th day of November 2021.

                                             BUCKLEY BEAL, LLP

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